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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                   PADUCAH DIVISION
                           CRIMINAL ACTION NO. 5:96-CR-24-TBR-1

  ANTHONY CHARLES GAINES, JR. (1)                                                     DEFENDANT

  v.

  UNITED STATES OF AMERICA                                                             PLAINTIFF

                              MEMORANDUM OPINION & ORDER

            Before the Court is Defendant Anthony Charles Gaines, Jr.’s Motion to Vacate pursuant to

  28 U.S.C. § 2255. [DN 240]. The Sixth Circuit granted Gaines permission to file a second or

  succession § 2255 motion. [DN 239]. Gaines claims that this Court must vacate his conviction for

  using a firearm during a crime of violence in violation of 18 U.S.C. § 924(c) because the conviction

  was rendered unconstitutional by United States v. Davis, 139 S.Ct. 2319 (2019). [DN 240]. The

  United States responded, [DN 245], and Gaines replied. [DN 247]. The Magistrate Judge issued a

  Findings, Conclusion, and Recommendation (“FCR”), recommending that the Court deny the

  motion to vacate, and that the Court grant a certificate of appealability. [DN 248]. Gaines filed

  Objections to the FCR. [DN 252]. Gaines also appealed the FCR which was denied by the Sixth

  Circuit. [DN 251; DN 253; DN 256]. Gaines then filed a Motion to Construe Appeal as an

  Objection to the FCR, [DN 261] and a Motion to Amend his previous FCR objections. [DN 262].

  These matters are now ripe for adjudication. For the reasons set forth below, Gaines’s motion to

  vacate, DN 240, is DENIED and the Magistrate Judge’s FCR, DN 248, is ADOPTED in PART

  and REJECTED in PART. Gaines’s Motion to Construe Appeal as an objection to FCR, DN 261,

  and Motion to Amend, DN 262, are DENIED as MOOT.

       I.   Background




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         In 1999, Gaines pled guilty—without a plea agreement—to aiding and abetting second‐

  degree murder in violation of 18 U.S.C. § 1111, aiding and abetting attempted second‐degree

  robbery in violation of 18 U.S.C. § 2111, and using a firearm during a crime of violence in violation

  of 18 U.S.C. § 924(c). [DN 193]. This Court sentenced Gaines to 420 months in prison for murder,

  180 months for robbery, and 60 months for using a firearm. Id.; [DN 114]. This Court ordered the

  420 and 180 months to run concurrently, and the 60 months to run consecutively, for a total

  sentence of 480 months. Id. The Sixth Circuit affirmed on direct appeal. [DN 136]. Gaines now

  asks the Court to vacate his Judgment arguing that his § 924(c) conviction is invalid in light of

  Davis because 18 U.S.C. §§ 1111 and 2111 constitute crimes of violence only under the now

  invalidated residual clause. [DN 240; DN 247]. The Court has recently addressed the same issue

  for Gaines’s co-defendant, Harris, but will reiterate the holdings below. [See DN 242].

   II.   Motion to Vacate

         On December 23, 2020, the Sixth Circuit granted Gaines’s motion for authorization to file

  a second or successive § 2255 motion. [DN 239]. In his motion, Gaines contends that his 60-month

  sentence on the § 924(c) conviction must be vacated because United States v. Davis, 139 S.Ct.

  2319, 2336 (2019) deemed part of § 924(c) as unconstitutionally vague. [DN 240]. He argues that

  “second degree murder under 1111 and attempted robbery do not qualify as crimes of violence

  under 924 (c)(3)(B).” Id. The § 924(c) charge, set out in Count 3 of the superseding indictment,

  states that Gaines and his co-defendant “did use and carry a firearm during and in relation to a

  crime of violence as set out in Count 1 and 2 of this Indictment.” [DN 134 at 5]. As stated above,

  Gaines pled guilty to all charges, including the § 924(c) charge, without a plea agreement. [DN

  114; DN 134]. However, it is unclear whether Gaines was sentenced under the residual clause of

  § 924(c)(3)(B) or the elements clause of § 924(c)(3)(A). [DN 248]. Importantly, although Davis



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  declared the residual clause of § 924(c) unconstitutional, it left the elements clause of § 924(c)

  intact. The Sixth Circuit has explained the functions of the two clauses and their status after Davis

  as follows:

         Federal law creates minimum sentences for criminals who use or possess firearms
         “during or in relation to” or “in furtherance of” a “crime of violence.”
         § 924(c)(1)(A). That means that conviction under § 924(c) requires not only the
         firearm use, but also a predicate offense that qualifies as a crime of violence. The
         law defines a “crime of violence” as any felony which “has as an element the use,
         attempted use, or threatened use of physical force against the person or property of
         another,” or a felony “that by its nature, involves a substantial risk that physical
         force against the person or property of another may be used in the course of
         committing the offense.” § 924(c)(3). The first definition is known as the “elements
         clause,” and the second as the “residual clause.” Last year, the Supreme Court
         invalidated the residual clause on constitutional grounds . . . Thus, only crimes that
         satisfy the elements clause can be predicate offenses for a § 924(c) conviction.

  United States v. Nixon, 825 F. App’x 360, 364 (6th Cir. 2020).

         Defendant argues that it is unclear which of his convictions, Count 1: aiding and abetting

  second-degree murder, or Count 2: aiding and abetting attempted second-degree robbery, were the

  predicate for his § 924(c) conviction. [DN 247]. Gaines further argues that even if he was sentenced

  under § 924(c)’s elements clause, his sentence still must be vacated because neither of the charges

  in Count 1 or Count 2 constitute crimes of violence under the elements clause. Id. Gaines’s

  contention is that as long as one of the two predicate offenses do not qualify as a “crime of

  violence” then the entire § 924(c) conviction should be invalidated. Id. Conversely, the

  government argues that Gaines’s sentence under § 924(c) must stand because Defendant has not

  shown that Davis applies to his case, and second-degree murder and attempted robbery as set out

  in Counts 1 and 2 of the superseding indictment are crimes of violence under the elements clause

  of § 924(c)(3)(A). [DN 245].

         Similarly, to Gaines’s co-defendant, the Magistrate Judge concluded in the FCR that

  Gaines’s motion to vacate is without merit. [DN 248]. The Judge found that because violence is

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  an element of at least one of the predicate offenses in Count 1 and Count 2, both of which Gaines

  pled guilty to, Defendant’s conviction and sentence under § 924(c) should stand. Id. Essentially,

  the Judge reasoned, as he did with Harris, that because Gaines could properly be convicted of the

  § 924(c) charge since attempted second-degree robbery is a crime of violence under the elements

  clause, it does not matter that a conviction under §924(c)’s residual clause would be

  unconstitutional; Gaines would have been properly convicted and sentenced either way.

         Gaines filed objections to the Magistrate Judge’s FCR. [DN 251; DN 252; DN 253; DN

  261; DN 262]. His objection centered on whether § 1111 should be considered a crime of violence

  under the elements clause of § 924(c). [DN 262]. In support of his argument, Gaines cites Borden

  v. United States, 141 S. Ct. 1817 (2021), a recent Supreme Court holding that abrogated a variety

  of cases including United States v. Verwiebe, 874 F.3d 258 (6th Cir. 2017). He notes that the

  government relied on Verwiebe, as did the Magistrate Judge, in determining whether § 1111 should

  be considered a crime of violence under the elements clause definition of § 924(c)(3)(A). Id. [See

  also DN 248 at 4; DN 245 at 7]. Based on the argument in his reply, Gaines claims that since his

  § 1111 conviction is no longer considered a crime of violence under Borden, his § 924(c)

  conviction should be vacated, whether or not his § 2111 conviction remains a crime of violence

  under § 924(c)(3)(A). [DN 247; DN 262]. Additionally, based on his reply brief, Gaines objects to

  the government’s argument and the Magistrate Judge’s determination that attempted second-

  degree robbery under 18 U.S.C. § 2111 is a crime of violence under § 924(c)(3)(A). [DN 247].

             A. Legal Standard

         “A judge of the court shall make a de novo determination of those portions of the

  [magistrate judge’s] report or specified proposed findings or recommendations to which objection

  is made. A judge of the court may accept, reject, or modify, in whole or in part, the findings or



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  recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1). Grounds for a motion to

  vacate under § 2255 are set forth in the statute as follows:

         A prisoner in custody under sentence of a court established by Act of Congress
         claiming the right to be released upon the ground that the sentence was imposed in
         violation of the Constitution or laws of the United States, or that the court was
         without jurisdiction to impose such sentence, or that the sentence was in excess of
         the maximum authorized by law, or is otherwise subject to collateral attack, may
         move the court which imposed the sentence to vacate, set aside or correct the
         sentence.

  28 U.S.C. 2255(a). “To warrant relief under section 2255, a petitioner must demonstrate the

  existence of an error of constitutional magnitude which had a substantial and injurious effect or

  influence on the guilty plea or the jury’s verdict.” Humphress v. United States, 398 F.3d 855, 858

  (6th Cir. 2005) (quoting Griffin v. United States, 330 F.3d 733, 736 (6th Cir. 2003)). Gaines claims

  that this Court must vacate his conviction of using a firearm during a crime of violence in violation

  of 18 U.S.C. § 924(c) because the conviction was rendered unconstitutional by United States v.

  Davis, 139 S.Ct. 2319 (2019). [DN 240; DN 247]. Davis invalidated the residual clause on

  constitutional grounds, and the Sixth Circuit has settled that Davis announced a new rule of

  constitutional law that applies retroactively to cases on collateral review. In re Franklin, 950 F.3d

  909, 910-11 (6th Cir. 2020).

             B. Discussion

         Gaines argues that because the record is silent on which clause the court relied upon in

  imposing his § 924(c) sentence, that silence should be construed in his favor to the effect that his

  § 924(c) sentence is vacated. [DN 247]. As explained above, the Magistrate Judge concluded that

  the record’s silence regarding which clause the court relied on at sentencing is effectively

  irrelevant, because even if the court did rely on the residual clause, it could have properly sentenced

  Defendant on the § 924(c) charge by relying on the elements clause. [DN 248]. In his reply brief,



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  Gaines states that “the record is silent to the proper predicates for Gaines[’s] 924(c) conviction . .

  . and that ambiguity should be resolved in Gaines[’s] favor. It is [more] likely, than not, that the

  district court relied on the residual clause at sentencing.” [DN 247]. Gaines provides a variety of

  case law from other circuits in support of this argument, but his belief that his motion to vacate

  should prevail if he can show it is more likely than not that the district court relied only on the

  residual clause in sentencing him is incorrect.

         Contrary to Gaines’s position, the Sixth Circuit cases to date apply the same approach used

  by the Magistrate Judge in the FRC: as long as the elements clause would have supported the

  § 924(c) sentence in theory, it is irrelevant that the sentencing court may have relied on the residual

  clause to support the § 924(c) sentence in fact. See Alvarez v. United States, No. 20-3597, 2020

  WL 7232200, at *2 (6th Cir. Nov. 23, 2020) (holding that defendant’s § 924(c) conviction was

  “unaffected by Davis’s invalidation of § 924(c)(3)(B)” where the predicate offense constituted a

  crime of violence under the elements clause); see also Overton v. United States, No. 19-3407, 2019

  WL 5606089, at *2 (6th Cir. Sep. 26, 2019) (holding that defendant’s predicate offense qualified

  “as a crime of violence under § 924(c)’s elements clause . . . [and thus] Davis, which invalidated

  only the residual clause, provides no relief”); see also Porter v. United States, 959 F.3d 800, 801–

  02 (6th Cir. 2020) (finding that, in a defendant’s post-Davis challenge to conviction under § 924(c),

  the question for the court is whether the conviction still qualifies as a crime of violence based

  solely on the elements clause); Shaw v. United States, No. 21-5088, 2021 WL 3174976 (6th Cir.

  July 22, 2021). Put differently, the fact that a sentencing court could have properly relied upon the

  elements clause in imposing the § 924(c) sentence precludes relief under Davis. Accordingly, the

  Magistrate Judge was correct in relying on the sufficiency of the elements clause to uphold the §

  924(c) sentence.



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         The Magistrate Judge concluded “‘that every court to consider the matter’ (of which the

  [Magistrate Judge] was aware) has concluded that § 2111 is a crime of violence under the elements

  clause.” [DN 248 at 2 (citing United States v. Fultz, 923 F.3d 1192 (9th Cir. 2019) and United

  States v. Ben, 783 F. App'x 443 (5th Cir. 2019))]. Although Gaines did not address this specific

  issue in his objections, he did argue that “aiding and abetting attempted robbery is not a ‘crime of

  violence’ under the elements clause of 18 U.S.C. 924(c)(3)(A).” [DN 247]. As such, the Court will

  address it here. Gaines argues against treating § 2111 as a crime of violence because “[f]ederal

  attempt conviction admits no certainty that the use, attempted use, or threatened use of physical

  force will be used.” Id. (citing United States v. Tucker, No. 18 CR 0119 (SJ), 2020 WL 93951 at

  (E.D.N.Y. Jan. 8, 2020)). Essentially, Gaines argues that attempted second-degree robbery does

  not involve a crime of violence as required for conviction under § 924(c)(3)(A) because criminal

  liability for attempted second-degree robbery attaches at the point of a “substantial step” toward

  committing second-degree robbery, and “the elements of the attempt offense at issue do not

  necessarily invol[v]e force.” Id. at 6. at 14. The Court, as it did in Gaines’s co-defendant’s case,

  disagrees with this interpretation of § 924(c)(3)(A). At the point that liability for attempted second-

  degree robbery attaches, the “attempted use . . . of physical force” has occurred such that the

  elements clause of § 924(c) is satisfied. It does not matter that the defendant’s substantial step

  toward committing the robbery may not involve an act of force, violence, or intimidation, because

  he still attempted the use of such force as contemplated by § 924(c). The Court agrees with the

  Magistrate Judge’s conclusion that § 2111 is a crime of violence under § 924(c)’s elements clause.

         Gaines’s only official objection to the Magistrate Judge’s determination was the

  classification of § 1111 as a crime of violence. [DN 262]. The Magistrate Judge stated “neither the

  Sixth Circuit nor this Court has yet weighed in on a split of federal circuit authority on the issue



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  of whether § 1111 is a crime of violence under the elements clause definition at § 924(c)(3)(A).”

  Ultimately, the Magistrate Judge held that § 1111 should be considered a violent crime under

  § 924(c). In support of this argument, the Judge relies on the dissent in United States v. Begay, 934

  F.3d 1033 (9th Cir. 2019), which the Ninth Circuit has vacated and is rehearing en banc, and United

  States v. Verwiebe, 874 F.3d 258. Since the Magistrate’s determination, Verwiebe has been

  abrogated by the Supreme Court in Borden v. United States, holding that “[o]ffenses with a mens

  rea of recklessness do not qualify as violent felonies under ACCA” because “they do not require,

  as ACCA does, the active employment of force against another person.” 141 S. Ct. 1817, 1834

  (2021). The Armed Career Criminal Act (ACCA), 18 U.S.C. § 924(e), includes in its definition of

  a “violent felony” the exact same phrasing as § 924(c): “has as an element the use, attempted use,

  or threatened use of physical force against the person of another.” The Supreme Court in Borden

  held that a reckless offense does not qualify when a criminal offense requires a “violent felony.”

  141 S. Ct. 1817, 1821. Under the same reasoning, an offense that requires only a mens rea of

  recklessness would not qualify as “crime of violence” under § 924(c). Given the Supreme Court’s

  recent holding, the Court rejects the Magistrates recommendation regarding the classification of

  § 1111 as a crime of violence.

         Gaines, in his reply brief, also disagrees with the Magistrate Judge’s determination that the

  issue of whether second-degree murder under 18 U.S.C. § 1111 is a crime of violence under

  § 924(c)(3)(A) is not of case-dispositive significance. [DN 247]. The Court agrees with the

  Magistrate Judge’s conclusion in the FRC. Only one of Gaines’s predicate crimes must be a crime

  of violence for proper conviction and sentencing under the elements clause of § 924(c). Because

  attempted second-degree robbery in violation of 18 U.S.C. § 2111 is a crime of violence, Gaines

  could properly be sentenced under the elements clause of § 924(c), and it does not matter in this



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  case that second-degree murder under 18 U.S.C. §1111 is not a crime of violence. The Magistrate

  Judge was correct in concluding that the issue of whether second-degree murder under 18 U.S.C.

  § 1111 is a crime of violence under § 924(c)(3)(A) is not of case-dispositive significance. As such,

  Gaines’s conviction under § 924(c) should not be vacated.

  III.   Certificate of Appealability

         In the event Gaines appeals this Court’s decision, he is required to obtain a certificate of

  appealability. 28 U.S.C. § 2253(c)(1)(B); FED. R. APP. P. 22(b). A district court must issue or deny

  a certificate of appealability and can do so even though the movant has yet to make a request for

  such a certificate. Castro v. United States, 310 F.3d 900, 903 (6th Cir. 2002).

         A certificate of appealability may be issued “only if the applicant has made a
         substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).
         To satisfy this standard, the petitioner must demonstrate “that jurists of reason could
         disagree with the district court's resolution of his constitutional claims or that jurists
         could conclude the issues presented are adequate to deserve encouragement to
         proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 327 (2003).

  Neil v. Forshey, No. 20-3491, 2020 WL 6498732, at *2 (6th Cir. Oct. 30, 2020). “To make this

  showing on claims resolved on the merits, [the petitioner] must demonstrate that jurists of reason

  would find the district court's assessment of his claims debatable.” Oden v. Turner, No. 20-3131,

  2020 WL 4493255, at *2 (6th Cir. July 7, 2020).

         The Magistrate Judge recommended that this Court grant Gaines a certificate of

  appealability on three issues:

         (1) Whether aiding and abetting second-degree murder in violation of 18 U.S.C.
         § 1111 constitutes a crime of violence under the elements clause definition at
         § 924(c)(3)(A); (2) Whether aiding and abetting attempted robbery in violation of
         18 U.S.C. § 2111 constitutes a crime of violence under the elements clause; and (3)
         Whether Movant was properly sentenced on 18 U.S.C. § 924 even if one (but not
         both) of the above crimes does not constitute a crime of violence under the elements
         clause.




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   Even with the Supreme Court’s recent holding regarding § 1111 and § 924(e), few of the issues

   Gaines raised in his motion, brief, and objections are governed by well-settled law in the Sixth

   Circuit. Although the law is clearer regarding analysis of a motion to vacate a § 924(c) sentence

   after Davis and Borden, room for clarity remains. The Court believes reasonable jurists can

   disagree on these matters. As such, the Magistrate Judge’s recommendation is accepted. This Court

   grants a certificate of appealability on all three of the issues stated above.

   IV.    Conclusion

          For the reasons discussed herein, IT IS HEREBY ORDERED:

                  (1) Defendant’s motion to vacate, DN 240, is DENIED.

                  (2) The Magistrate Judge’s Findings, Conclusion, and Recommendation, DN 248,

          is ADOPTED in PART and REJECTED in PART.

                  (3) Gaines’s Motion to Construe Appeal as an Objection, DN 261, and Motion to

          Amend, DN 262, are DENIED as MOOT.

                  (4) A Certificate of Appealability is GRANTED as to the motion to vacate, as

          detailed above.

          IT IS SO ORDERED.




   cc: counsel
                                                                    November 15, 2021
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